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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

ERIC SABATINI, Individually and On Behalf        )
of All Others Similarly Situated,                )
                                                 )
                       Plaintiff,                ) Case No. 1:19-cv-01385-LPS
                                                 )
       v.                                        )
                                                 )
DEL FRISCO’S RESTAURANT GROUP,                   )
INC., IAN R. CARTER, NORMAN J.                   )
ABDALLAH, PAULINE J. BROWN, DAVID                )
B. BARR, WILLIAM LAMAR JR., and JOE              )
REECE,                                           )
                                                 )
                       Defendants.               )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified in the Action.

Dated: October 2, 2019                            RIGRODSKY & LONG, P.A.

                                            By: /s/ Brian D. Long
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